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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  IN RE: CAPITAL ONE CONSUMER DATA                         MDL No. 1:19md2915 (AJT/JFA)
  SECURITY BREACH LITIGATION



   This Document Relates to the Consumer Cases

            PLAINTIFFS’ MOTION TO COMPEL RESPONSE TO PLAINTIFFS’
                         INTERROGATORY NO. 22 TO AWS

         Plaintiffs hereby move to compel the Amazon Defendants to respond, in full, to

  Interrogatory No. 22, including subparts (b) and (c). The reasons for this motion are described in

  the accompanying Memorandum.

  Dated: November 5, 2021.                                    Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE
         I hereby certify that on November 5, 2021, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system, which will send notice of electronic filing

  to all counsel of record.

                                                     /s/_Steven T. Webster_________
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